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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE USJUH§M PH 3:‘9
WESTERN DIVISION

 

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MARK J. CHIDESTER,
Plaintiff,
v. No. 02-2556 Ma/A

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION TO RECONSIDER THE COURT'S ORDERS
ON DEFENDANTS BICKERSTAFF’S AND THOMAS' MOTIONS TO DISMISS AND/OR
IN THE ALTERNATIVE FOR SUMMARY JUDGMENT

 

Plaintiff Mark Chidester brings this action under 42 U.S.C. §
1983, alleging that Memphis and Shelby County police officers
violated his First, Fourth, Sixth, and Fourteenth.Amendment rights.
Chidester also brings state law claims of assault, intentional
infliction of emotional distress, and official misconduct.
Chidester's complaint is against the City of Memphis; Shelby
County; W.E. Crews in his personal and official capacity as
Director of the Memphis Police Department; A.C. Gilless in his
personal and official capacity as Sheriff of Shelby County;
Sergeant D.L. Bickerstaff in his personal and official capacity as
an officer of the Memphis Police Department; Officer J.H. Thomas in
his personal and official capacity as a deputy of the Shelby County

Sheriff's Department; Officer Michael R. Reynolds in his personal

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With Hu|e 58 and/or 79(3) FHCP on é“[*§/`j§g:f! /Q.j

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and official capacity as a police officer of the Shelby County
Sheriff's Department; Sergeant Bennie Morris in his personal and
official capacity as a sergeant of the Shelby County Sheriff's
Department; and Lieutenant Ken Landry in his personal and official
capacity as a lieutenant and official of the Internal Affairs
Division of the Shelby County Sheriff's Department. Chidester seeks
declaratory relief and compensatory and punitive damages.

On August 6, 2004, Bickerstaff filed a “Motion to Dismiss
and/or in the Alternative for Summary Judgment." On October 4,
2004, Chidester filed a response. On October 25, 2004, Bickerstaff
filed a reply to Chidester’s response. On January 27, 2005, this
court entered an order dismissing all claims against Bickerstaff.
On December 7, 2004, defendant Thomas filed a motion to dismiss
and/or in the alternative for summary judgment. On January 10,
2005, Chidester filed a response to Thomas’ motion. On January 27,
2005, this court entered an order granting in part and denying in
part Thomas’ motion.

Before the court is Chidester's February 17, 2005, motion
asking the court to alter or amend its orders on Bickerstaff’s and
Thomas' motions. Chidester asks that the court reconsider its
dismissal of his conspiracy claims under §§ 1983 and 1986 against
both defendants and reconsider its dismissal of Chidester's
excessive force claim.under § 1983 against Bickerstaff. Bickerstaff
and Thomas filed a joint response on February 18, 2005. For the

following reasons, Chidester’s motion is DENIED.
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I. Background

The following facts are undisputed, unless otherwise noted.
Chidester alleges that on or about December 8, 2001, thirty minutes
after leaving the scene of a car accident, he returned to find that
his vehicle had been towed and police officers were on the scene.
(Am. Compl. at l IV.1~3.) Chidester turned himself in to Shelby
County Officer Thomas, “stating that he wished to go immediately to
jail.” (Id. at I IV.4.) Officer Thomas and Sergeant Bickerstaff
attempted to perform a field sobriety test on Chidester.
(Bickerstaff Aff. at 2.) Sergeant Bickerstaff then entered the
front of his police car while Officer Thomas escorted Chidester to
the back door of the car. (Id.) While Officer Thomas was attempting
to get Chidester into the police car, a “scuffle” between the
parties ensued. (Id.) The precise actions that Officer Thomas took
to control Chidester during the “scuffle” are in dispute. Sergeant
Bickerstaff was aware that some sort of “scuffle” took place. (Id.)
The parties dispute whether Sergeant Bickerstaff was aware of the
precise actions that Officer Thomas took to control Chidester
during the “scuffle.”

Officer Thomas then carried Chidester to the back of the squad
car, slammed his head on the trunk, and forced Chidester to the
ground. (Am. Compl. at § IV.9, ll.) On realizing that Chidester had
been slammed against his police car, Sergeant Bickerstaff left the

car and approached Officer Thomas and Chidester at the rear of the

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car. (Bickerstaff Aff. at 2.) All of these events were filmed by a
camera inside Sergeant Bickerstaff's police car. (Am. Compl. at l
IV.lO.) Chidester alleges that he suffered injuries to his head and
inner elbow. (Id. at q IV.l7.)

Chidester filed his complaint in the district court on July
15, 2002. The case was stayed pending the completion of related
criminal prosecutions. Those matters have been resolved, and the
case was reopened on May ll, 2004.
II. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction to adjudicate state law claims arising from a common
nucleus of operative facts under 28 U.S.C. § 1367(a).
III. Standard of Review

A. Relief From an Order

“On motion and upon such terms as are just, the court may
relieve a party or a party's legal representative from a final
judgment, order, or proceeding for . . . mistake, inadvertence,
surprise, or excusable neglect. . . .” Fed. R. Civ. P. 60(b); see
also Blachv v. Butcher, No. 03-2079, 2005 WL 843905, at *5 (6th
Cir. April 12, 2005).

B. Dismissal Uhder Rule 12(b)(6)

“Under the liberal notice pleading rules, a complaint need

only put a party on notice of the claim being asserted against it

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to satisfy the federal rule requirement of stating a claim upon
which relief can be granted.” Memphis, Tenn. Area Local. Am. Postal
Workers’ Unionl AFL-CIO v. City Of Memphis, 361 F.Bd 898, 902 (6th
Cir. 2004). When considering a motion to dismiss for failure to
state a claim, the court regards all factual allegations in the
complaint as true. Scheid v. Fannv Farmer Candv Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiffs.” Memphisl
Tenn. Area Local, Am. Postal Workers' Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to
relief based on a viable legal theory, the claim will be dismissed.
Scheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a
claimant to set out in detail all the facts upon which he bases his
claim.” Conlev' v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either
direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Sile[ Inc., 330
F.3d 889, 902 (6th Cir. 2003). There is no increased pleading
standard for claims alleging municipal liability under 42 U.S.C. §
1983. Leatherman v. Tarrant Countv Narcotics Intelligence &

COOrdinatiOn Unit, 507 U.S. 163, 165-66 (1993).

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C. Summary Judgment

The party moving for summary judgment “bears the burden of
clearly' and convincingly' establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion." Kochins v. Linden~Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. See Street v. J.C.
Bradford & CO., 886 F.2d 1472, 1479 (6th Cir. 1989) .

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Libertv Lobbv,
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere
reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.
317, 324 (1986). Instead, the nonmoving party must present

“concrete evidence supporting its claims.” Cloverdale Eguip. Co.

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V. SimOn Aerials InC., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such

evidence. See InterRoyal Corp. v. Sponseller, 889 F.2d 108, 110-ll

 

(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. See id.

IV. Analysis
A. Dismissal of Chidester's Conspiracy Claims

In its orders on Bickerstaff’s and Thomas’ motions to dismiss
this court stated:

Chidester's response to [the defendants'] motion[s]

raises conspiracy claims under §§ 1983 and 1986.

Chidester’s complaint makes no mention of §§ 1983 and

1986 conspiracy claims. In the absence of the consent of

all parties to the suit, a clain1 not raised in the

complaint cannot be raised in later stages of litigation.

Stemler v. Citv of Florence, 126 F.3d 856, 872 (6th Cir.

1997).

(Order on Bickerstaff’s Motion at 13-14; Order on Thomas’ Motion at
ll.)

Chidester argues that reconsideration of the court's order is
warranted because the court was mistaken in finding that the
amended complaint did not raise claims of conspiracy under 42
U.S.C. §§ 1983 and 1986. In support of this position, Chidester

offers the following quotes from his amended complaint:

The defendant told the officers: [you are] hurting me,
quit hurting me.

(Am. compl. at {[ Iv.e.)

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Very shortly after [Thomas slammed Chidester’s head on
the patrol car and forced Chidester to the ground]
Sergeant Bickerstaff turns off the videotape in an effort
to cover up and conceal this matter and destroy further
evidence.

(Am. Compl. at l Iv.12.)

Bickerstaff then appears on the videotape [approximately
25 minutes after it was turned off] and attempts to cover
up the incident by saying that the tape may have had
audio problems, adding that Chidester gave the deputies
a “hard time” and that he was showing this as a refusal
to submit to the BAC test.

(Am. Compl. at 7 IV.13.)
Bickerstaff edited the videotape to conceal events,
manufacture evidence, and cover up the actions of Thomas.
He also falsely manufactured evidence regarding Refusal
to Submit to a BAC test. Bickerstaff also made a verbal

statement into the re-started videotape in an attempt to
lay blame on your plaintiff and cover up these matters.

(Am. compl. at l Iv.14.)

An Affidavit of Complaint was written and signed by J.H.

Thomas, the arresting officer, falsely stating that the

injuries received to the Plaintiff’s head were “self

inflicted.” Sergeant Bickerstaff made no effort to
correct false police reports.
(Am. compl. at 4 Iv.23.)

Chidester, however, neglects to mention that the quotations he
offers in support of his position are taken from section IV of his
amended complaint which is titled “Factual Allegations.” Section V
of the amended complaint is titled “Causes of Action.” Although

Chidester lists 40 causes of action in section V, he does not cite

42 U.S.C. § 1986 a single time, nor does he use the word

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“conspiracy” a single time.1

Fed. R. Civ. P. 8(a)(2) requires that a plaintiff pleading a
claim for relief give “a short and plain statement of the claim.”
This rule is not difficult to satisfy: “[u]nder the liberal federal
system of notice pleading, all that a plaintiff must do in a
complaint is give a defendant ‘fair notice of what the plaintiff’s
claim is and the grounds upon which it rests.’” Vector Researchc
Inc. v. Howard & Howard Attornevs P.C., 76 F.3d 692, 697-98 (6th
Cir. 1996) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)).
Simply alleging facts which, if believed, could sustain a
particular cause of action does not give the defendant “fair notice
of what the plaintiff's claim is.” The plaintiff must actually
state what his claims are because a defendant is not required to
prepare a defense to every cause of action that could conceivably
arise from the set of facts alleged in a complaint. Chidester’s
amended complaint does not state that he is bringing a claim of
conspiracy in violation of §§ 1983 and 1986. Thus, for Chidester's
conspiracy claims, the amended complaint, by its plain language,
does not satisfy Fed. R. Civ. P. 8(a)(2)’s requirement that a
plaintiff state the claims he is bringing.

Even if Chidester’s amended complaint satisfied Rule 8(a)(2)

for his conspiracy claims, those claims would not survive a motion

 

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Chidester also does not argue that any of the 40 causes of action should

be read to imply that he has brought a claim based on conspiracy.

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to dismiss under Fed. R. Civ. P. 12(b)(6). Chidester's § 1986 claim
cannot survive a motion_ to dismiss because Chidester~ has not
alleged that he is a member of a class afforded special protection
under the Equal Protection Clause. “Where a plaintiff has stated no
cause of action under § 1985, no cause of action exists under §
1986.” BraleV v. CitV Of Pontiac, 906 F.2d 220, 227 (6th Cir.
1990). The Supreme Court has limited plaintiffs who may make out §
1985 claims to those people who are victims of conspiracies because
of “racial, or perhaps otherwise class-based, invidiously
discriminatory animus.” Griffin v. Breckenridge, 403 U.S. 88, 102
(1971}. The Sixth Circuit has interpreted Griffin to mean that
suits under § 1985 are only permitted if the plaintiff is a member
“of a discrete and insular minority which [is] accorded special
protection under the Equal Protection Clause. . . .” Seguin v. City
of Sterling Heights, 968 F.2d 584, 590 (6th Cir. 1992) (internal
quotes and citations omitted). Chidester does not claim to be a
member of any class. Consequently, Chidester could not state a
claim under § 1985 and cannot bring a claim under § 1986.
Chidester’s clain1 of conspiracy' under § 1983 also cannot
survive a Rule 12{b)(6) motion to dismiss. To prevail on a civil
claim of conspiracy in violation of § 1983, a plaintiff must allege
that he was deprived “of civil rights in furtherance of the
conspiracy by a party to the conspiracy.” Pfannstiel v. Citv of

Marion, 918 F.2d 1178, 1187 (5th Cir. 1990); see also Farhat v.

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ggpke, 370 F.3d 580, 599 (6th Cir. 2004) (stating that because the
plaintiff suffered no constitutional deprivations he could not
bring a conspiracy claim under § 1983). Chidester appears to claim
that the alleged conspiracy deprived him of his right to access to
courts in violation of the “First, Fourth Sixth, and Fourteenth
Amendment Due Process Rights." (Am. Compl. at 1 V'.8.)2 In its
previous orders, this court dismissed Chidester’s claims for
deprivation of his right to access to courts in violation of §
1983. (Order on Bickerstaff's Motion to Dismiss at 9; Order on
Thomas’ Motion to Dismiss at 9.) Consequently, there is no
constitutional violation that can serve as the basis for
Chidester’s conspiracy claims.

B. Summary Judgment on Chidester's § 1983 Clainl Against
Bickerstaff for Violatidn of Chidester’s Fourth Amendment
Rights

Chidester asks the court to reconsider its order granting
summary' judgment on his § 1983 clainl against Bickerstaff for
violation of his Fourth Amendment right to be free from the use of
excessive force. Chidester's motion for reconsideration offers nol
new arguments or factual allegations supporting this claim. In its
earlier order the court concluded that no reasonable jury could
find that Bickerstaff was in a position to prevent Thomas' alleged

use of excessive force. (Order on Bickerstaff's Motion to Dismiss

 

2Chidester's claims of use of excessive force in violation of the Fourth
Amendment cannot be the constitutional violation that forms the basis of his
conspiracy claims because he does not allege that the defendants entered into a
conspiracy to harm him physically.

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at 9.} The entire incident is on a videotape that the court has
viewed. Although questions of material fact certainly exist about
the altercation between Thomas and Chidester, there is no question
that Bickerstaff was not in a position to intervene. The videotape
clearly shows that Bickerstaff was in his police cruiser during the
incident and, as soon as he became aware of a problem, he left the
car and investigated. There are no allegations that any physical
abuse of Chidester continued after Bickerstaff left his police
cruiser and approached Thomas and Chidester. No reasonable jury
could conclude that Bickerstaff, inside his police cruiser, could
have prevented the incident between Thomas and Chidester.

V. Conclusion

For the foregoing reasons, Plaintiff's motion is DENIED.

So ordered this lq*k day of June 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

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